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                  IN THE UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS


ESTATE OF JORDAN BAKER, by and             )
through administrator, JANET BAKER,        )       No. 15 cv. 3495
                                           )
             Plaintiff,                    )
                                           )
             v.                            )       JURY TRIAL DEMANDED
                                           )
JUVENTINO CASTRO, THE CITY OF              )
HOUSTON, and RPI MANAGEMENT                )
COMPANY, LLC,                              )
                                           )
             Defendants.                   )
                                           )

                                  COMPLAINT

      Plaintiff, ESTATE OF JORDAN BAKER, by and through administrator

JANET BAKER, complains of Defendants JUVENTINO CASTRO, the CITY

OF HOUSTON, and RPI MANAGEMENT COMPANY, LLC , as follows:

                                  Introduction

      1.    Houston Police Department Officer Juventino Castro shot and killed

Jordan Baker without any lawful justification. Before Defendant Castro shot

Jordan Baker—a 26-year-old father and college student—he been simply riding his

bike through a strip mall near his home. Baker had been committing no crimes at

all. Nonetheless, Defendant Castro chose to confront Jordan Baker because he was

an African-American man wearing a hooded sweatshirt. That confrontation ended

with Jordan Baker being murdered by Defendant Castro.
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      2.     Because of his status as a police officer, Defendant Castro has not been

held accountable for his actions. No criminal charges were ever filed, and he has not

even been removed from the Houston police force.

      3.     Tragically, the shooting of an unarmed citizen by a member of the

Houston Police Department was not an isolated incident. Instead, the City of

Houston has experienced a rash of such police-involved shootings of unarmed

individuals, and particularly African-Americans, in such a manner that they are de-

facto City policy. Nonetheless, the City of Houston has not done anything to address

the pervasive shooting of unarmed individuals by its officers. And, like Defendant

Castro, the City has not been held accountable for its actions (and inactions)

concerning the shooting of unarmed individuals by its officers.

      4.     This action, brought under 42 U.S.C. § 1983, seeks justice—and

accountability—for the wrongful, unjustified killing of Jordan Baker and seeks to

deter the wrongful, unjustified shootings of others at the hands of the Houston

Police Department.

                          JURISDICTION AND VENUE

      5.      This Court has jurisdiction under 28 U.S.C. § 1331.

      6.     Venue is proper under 28 U.S.C. § 1391(b). The events giving rise to

the claims asserted herein all occurred within this district, and, upon information

and belief, all or most of the parties reside in Harris County.

                                       PARTIES

      7.     The Estate of Jordan Baker represents the property and legal interests

of decedent Jordan Baker.

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      8.      Janet Baker, the mother of Jordan Baker, is the court-appointed

administrator of the Estate of Jordan Baker. The Estate also includes any legal

interests arising out of Jordan Baker’s death that Janet Baker or Jordan Baker’s

son, J.B., may have. The Estate brings those claims on their behalves.

      9.      Defendant Juventino Castro is an Houston Police Department officer

who, at all times relevant to this action, was acting under color of law and within

the scope of his employment as a Houston police officer. In addition, and

simultaneously, Defendant Castro was at all times relevant acting on behalf of RPI

Management Company and within the scope of his duties as law enforcement and

“security” for the 5700 W. York strip mall.

      10.     Defendant City of Houston is a Texas municipal corporation that

operates the Houston Police Department (the “HPD” or “Department”), which in

turn sets city-wide policy for the conduct of police officers employed by the

Department.

      11.     RPI Management Company is a commercial real estate Company in

Houston, Texas. RPI Management Company manages the property located at 5700

W. York and hired Defendant Castro to work at the strip mall on January 14, 2014.

                            FACTUAL ALLEGATIONS

            Defendant Castro Works 5700 W. York as an HPD Officer

      12.     On January 16, 2014, Defendant Castro was a full-time patrol

officer for the Houston Police Department assigned to work the Narcotics

Division.



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      13.    That evening, Defendant Castro was working an extra job

through the Department’s “Extra Employment System.”

      14.    In so doing, Defendant Castro was working to enforce all

federal, state, and city laws at the strip mall with approval from the Houston

Police Department.

      15.    To that end, Defendant Castro was wearing his Department-

issued uniform, wearing an HPD badge or insignia, armed with his service

weapon, and acting in a full capacity as an HPD officer.

      16.    On January 13, 2014, Defendant Castro was hired by RPI

Management Company, to serve as law enforcement for the strip mall at

5700 W. York. Defendant Castro worked in such capacity January 16, 2014.

      17.    RPI Management Company hired Defendant Castro to a

“permanent” position due to his status as an HPD officer, and relied upon

that fact in choosing to hire Defendant Castro to work law enforcement for

the strip mall at 5700 W. York from January 13, 2014 and beyond.

      18.    In so doing, RPI Management Company anticipated that

Defendant Castro would be able to exercise his full authority as a member of

the Houston Police Department, including the ability to detain suspects and

use force against individuals at the strip mall.

               Jordan Baker is Shot By Defendant Castro

      19.    On the evening of January 16, 2014, Jordan Baker rode his

bicycle to the shopping mall near 5700 West Little York.

      20.    Jordan Baker lived near 5700 West Little York, and regularly

frequented the strip mall without incident.

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      21.    That evening, Jordan Baker was wearing flip-flop sandals,

pajama pants, and a hooded sweatshirt.

      22.    When he was confronted by Defendant Castro, Jordan Baker

was completely unarmed.

      23.    When he was confronted by Defendant Castro, Jordan Baker

was simply riding his bike among the stores at the mall. In so doing, Jordan

Baker was not breaking any laws or engaged in any unlawful conduct.

      24.    Defendant Castro claims that he confronted Jordan Baker

because he looked “suspicious.”

      25.    Defendant Castro’s basis for claiming Jordan Baker looked

“suspicious” was based on Jordan’s race and the fact that he was wearing a

hooded sweatshirt.

      26.    However, given that Jordan was riding his bike and wearing

flip-flop sandals, it was obvious that Jordan was not engaged in any unlawful

behavior.

      27.    At the time that this incident began, Jordan Baker had a right to walk

and ride his bike without being confronted by police because he was not committing

any crimes, and there was no reasonable suspicion to believe he had committed any

crimes or to stop him for any reason.

      28.    Nonetheless, Defendant Castro engaged Jordan and unlawfully

detained him.

      29.    During this time, when Jordan protested his unlawful detention,

Defendant Castro used unconstitutional force against Jordan Baker.



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      30.    In addition, at certain or various points throughout this encounter,

Defendant Castro used excessive non-deadly force against Jordan Baker, causing

injuries all over his body.

      31.    These injuries, caused by Defendant Castro, include cuts and

abrasions to Jordan’s forehead, scalp, chest, knees, and left arm, wrists, and

shoulder.

      32.    Upon information and belief, video recordings depict the

unconstitutional non-deadly force that Defendant Castro used against Jordan

Baker.

      33.    At some point, Jordan Baker’s hooded sweatshirt was removed

from his body.

      34.    Shirtless and unarmed, Jordan Baker attempted to flee from

Defendant Castro.

      35.    Upon information and belief, the video recordings of the

incident show that when Jordan Baker fled Defendant Castro he was

shirtless and unarmed.

      36.    Unsatisfied, Defendant Castro gave chase, and both he and

Jordan ended up behind the strip mall.

      37.    The area behind the strip mall includes a “side portion” near the

bayou, which includes a trail that extends far beyond the mall.

      38.    The area behind the strip mall also includes “back alley”

completely behind the front of the mall, which is lined by a fence that dead-

ends hundreds of feet away from the “side portion” near the bayou.


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      39.    The chase ended when Defendant Castro shot Jordan Baker—

who was still shirtless and unarmed—directly in the chest.

      40.    According to Defendant Castro, when he shot Jordan Baker in

the chest, Baker was more than 10 feet away.

      41.    According to Defendant Castro, the shooting took place near the

“side portion” and open area near the bayou, not the alley.

      42.    This shooting was unlawful. At no point during Jordan Baker’s

encounter with Defendant Castro did Jordan take any action that would

have justified Castro’s use of deadly force.

      43.    At no point during Jordan Baker’s encounter with Defendant Castro

did Jordan pose an imminent threat of death or serious bodily harm sufficient to

justify the use of deadly force by Defendant Castro.

        Jordan Baker Dies From Defendant Castro’s Gunshot Wound

      44.    In the wake of this unjustified shooting, Jordan Baker did not

immediately die.

      45.    In these moments, Jordan Baker experienced unspeakable pain due to

the gunshot wound he had suffered

      46.    Nonetheless, after shooting him Defendant Castro did nothing to save

Jordan Baker’s life. Defendant Castro provided no medical treatment whatsoever.

      47.    Instead—adding insult to fatal injury—Defendant Castro handcuffed

Jordan Baker as he lay dying, writhing in pain, on the ground behind the mall.

      48.    Jordan Baker died from the gunshot wound he suffered at the hands of

Defendant Castro.

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     Defendant Castro Attempts to “Cover-Up” His Unlawful Shooting

      49.       After the shooting, Defendant Castro told authorities and

investigators that he shot Jordan Baker because he thought shirtless-and-unarmed

Baker “put his hands close to his waist,” purportedly causing him to fear for his life.

      50.       Defendant Castro’s claim that Jordan Baker put his hands near his

waist was a lie that Defendant Castro told to attempt to justify his unlawful acts.

      51.       Defendant Castro knew that falsely claiming Jordan put his hands

“near his waistband” during the chase would likely be sufficient to absolve him of

criminal liability for this homicide, since the only other witness to the shooting—

Jordan Baker—was dead.

      52.       Defendant Castro’s accounting of events is extremely implausible,

includes falsehoods, and belied by the external evidence.

      53.       For example, upon information and belief, Defendant Castro’s account

to authorities investigating the shooting incident is at odds with, and contradicted

by, video captured from the front of the strip mall.

      54.       Likewise, Defendant Castro’s account to authorities is also

inconsistent with the autopsy report prepared by the Harris County Coroner.

      55.       Specifically, the autopsy report revealed a number of injuries Jordan

Baker suffered and sustained during his encounter with Defendant Castro that are

at odds with the version of events Defendant Castro provided to investigators after

the shooting.




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             The City of Houston and RPI Management Company
                     Fail To Discipline Defendant Castro

      56.    Despite all of the inconsistencies and implausible version of events

provided by Defendant Castro, his employers—RPI Management Company and the

City of Houston—failed to discipline Defendant Castro in any meaningful way.

      57.    Indeed, neither the City of Houston nor RPI Management Company

ended Defendant Castro’s “Extra Employment” at the Strip Mall in the wake of the

shooting.

      58.    Instead, records indicate that Defendant Castro was due to work for

RPI Management until April 20, 2015, and that as of April 21, 2015, that position

had not been terminated or expired.

      59.    Likewise, the shooting, and after a short stint on administrative leave,

Defendant Castro returned to duty for the Department. Defendant Castro was not,

and has not been, disciplined by the HPD for killing Jordan Baker.

      60.    Indeed, just 10-days after the shooting the Department approved

additional “Extra Employment” for Defendant Castro to work security for another

private entity in addition to his work for RPI Management.

     Houston’s Policy and Practices Were the Moving Force Behind the
         Constitutional Violations Inflicted Against Jordan Baker

      61.    The shooting of Jordan Baker—an unarmed African-American—was

not an isolated incident for the Houston Police Department.

      62.    In fact, on information and belief, between 2008 and 2012 HPD shot at

least 121 people, killing at least 52.



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      63.    On information and belief, more than one quarter of these individuals

were unarmed. The fact that more than 25% of the HPD’s police-involved shootings

between 2008 and 2012 involved unarmed individuals is indicative of the HDP’s

policies, practices, and procedures.

      64.    The fact that more than one-quarter of the HPD’s police-involved

shootings between 2008 and 2012 involved unarmed individuals is also indicative of

the HPD’s deliberate indifference to the constitutional rights of Houston residents,

which was again illustrated by the shooting of Jordan Baker as and others shot by

HPD officers since 2012.

      65.    Tellingly, for some unarmed individuals shot by HPD officers, the

purported justification for the use of deadly force was that the individual was

“reaching for the waistband”—the same excuse Defendant Castro invoked in an

attempt to justify shooting Jordan Baker.

      66.    For example, in February of 2010, an HPD officer shot Steven Guidry

in the neck in southwest Houston after claiming Guidry “reached into his

waistband as if to get a weapon.” Likewise, in October of 2012, an HPD officer shot

Ricardo Salazar-Limon in the back by claiming that, as he walked away from the

officer, Salazar-Limon “reached for his waistband.”

      67.    The Houston Police Department has also failed to meet firearm

training requirements recommended by national police agencies. In addition, at the

time of the shooting, the Department failed to have meaningful internal controls or

policies that would prevent unlawful police shootings like the one that killed

Jordan Baker.

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      68.    The City’s failure to discipline Defendant Castro was not the first time

the City of Houston failed to discipline an officer who unlawfully used deadly force.

      69.    In fact, on information and belief, in the over 600 police-involved

shootings between 2008 and 2012 in Houston, the Department did not ever

determine that an intentional discharge was unjustified. Indeed, neither officer

involved in the Guidry or Salazar-Limon shootings described above were disciplined

for their shooting of unarmed individuals.

      70.    The Department’s failure to train and discipline officers regarding the

proper use of deadly force causes, and/or encourages the use of unconstitutional

deadly force by Houston Police officers.

      71.    The Department’s record concerning its failure to train and discipline

officers regarding the use of deadly force illustrates the City’s deliberate

indifference to the rights of individuals, particularly including the rights of citizens

who, like Jordan Baker, were completely unarmed when they were shot.

      72.    In fact, and as further evidence of both the Department’s policies and

the City’s deliberate indifference, since the shooting of Jordan Baker, other

unarmed African-American men have been shot by HPD officers in a fashion

similar to Jordan Baker.

      73.    For example, in September of 2015, Alan Pean, an African-American,

was unarmed and shot by two HPD officers working law enforcement for a private

hospital through the “Extra Employment System.” And, like Jordan Baker, Mr.

Pean was 26-year-old student with no criminal history of violence.



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      74.    The City’s failures to train and discipline their officers with respect to

their uses of excessive force also extend to HPD officers’ unconstitutional use of an

individual’s race, both when deciding to detain an individual and when electing to

use force. Like Jordan Baker, a number of unarmed individuals shot by HPD

officers are people of color—Mr. Guidry, Mr. Salazar-Limon, and Mr. Pean stand

out as such examples.

      75.    As a consequence, and upon information and belief, the City’s police

officers frequently use race in their policing, both in determining when and whom

to detain but also in their decisions to use force.

      76.    Houston officers use race when determining to detain and use force

against people of color in a manner disproportionate to their proportionate

representation in the population, illustrative of the Department’s unconstitutional

race-based practices.

      77.    The City retains data regarding its police-involved shootings. That

data indicates that HPD officers, pursuant to de-facto City policy and/or widespread

practice, use deadly force against African-Americans in a disproportionate, racially

significant manner.

      78.    For example, at the time of filing, for the year 2015, out of 26 victims

wounded or killed in police involved-shootings, 57.6% of those individuals were

African-American. This startling figure is over double the proportion of Houston

residents that are African-American; a number U.S. Census data puts under 25%.

      79.    Other data confirms that the HPD’s use of force against persons of

color is disproportionate. For example, consistent with the numbers seen in 2015, a

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statistical profiling of every closed HPD officer-involved-shooting from 2005 to 2013

concluded that black suspects were involved in the most total number of officer-

involved shootings (comprising over 50% of the police-involved shootings), and that

Hispanic and Black suspects had a much higher probability of being the targets of

officer involved shootings than White or Asian suspects.

      80.    As concerns stops made by HPD officers, the City maintains a de-facto,

race-based policing system despite the fact that its own “Racial Profiling Reports.”

      81.    Indeed the City’s own reports support an inference that race-based

policing has occurred, owing to the fact that African-American individuals make up

a disproportionate number of traffic stops and searches conducted by HPD officers.

      82.    For example, according to the City’s data, in 2014, almost 40% of

traffic stops made by the HPD were of African-Americans, despite the fact that

African-Americans make up less than 25% of the City’s population.

      83.    In addition, according to the City’s own data, African-Americans are

more likely to be searched following a stop in a disproportionately higher rate than

other demographic groups.

      84.    Despite these skewed results, in its “Racial Profiling Reports,” the

HPD maintains that there is no statistically significant evidence of racial profiling

against any racial or ethnic group in Houston.

      85.    This Conclusion illustrates the City’s deliberate indifference to its own

race-based, and racially disproportionate police practices.




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                                 Plaintiffs’ Damages

      86.     The Defendants’ actions imposed substantial harm on Jordan Baker

during the period of time after which he was shot by Defendant Castro until Jordan

Baker ultimately passed away. The amount of excruciating pain Jordan Baker felt

during those final moments is unquantifiable.

      87.     In addition, Jordan Baker, a 26-year-old college student and father of

a seven-year-old, lost the opportunity to live the rest of his life. Jordan Baker lost

the opportunity to finish college; the opportunity to earn wages based upon his

college education; and the ability to see his young son, J.B., grow up. These

damages are tragic and substantial.

      88.     Likewise, Jordan Baker’s son, J.B., has suffered an immeasurable

loss: growing up without a father. His upbringing will now be forever altered by the

difficulties that he and his caretakers will face as a result of his father’s death.

      89.     Janet Baker, Jordan’s mother, has experienced monumental loss as

well. Janet Baker was close with her son and will never again have this

relationship nor the opportunity to see Jordan grow. In addition, Janet has been

further harmed by the actions subsequent to the shooting—both by the failure of

any authorities to bring any accountability to Defendant Castro, but also by the

substantial life changes that she has endured in assisting with caretaking for J.B.

                              Count I - 42 U.S.C. § 1983
                              Excessive Deadly Force

      90.     Each of the Paragraphs in this Complaint is incorporated as if

restated fully herein.

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      91.        As described in the preceding paragraphs, Defendant Castro’s actions

toward Jordan Baker violated Baker’s constitutional rights, including but not

limited to those under the Fourth and Fourteenth Amendments of the United

States Constitution.

      92.        The misconduct described in this Count was objectively unreasonable

and undertaken with willfulness and reckless indifference to the rights of others. In

addition, the misconduct and excessive force described in this Count “shocks the

conscience.”

                              Count II – 42 U.S.C. § 1983
                             Unlawful Seizure/Detention

      93.        Each of the Paragraphs of this Complaint is incorporated as if fully

stated herein.

      94.        In the manner described in this Complaint, Defendant Castro

violated Plaintiff’s constitutional rights, causing him damage by detaining him with

the absence of probable cause or reasonable suspicion in violation of the Fourth

Amendment of the United States Constitution.

      95.        The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally with willful indifference to Jordan Baker’s

constitutional rights.




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                              Count III— 42 U.S.C. § 1982
                                  Equal Protection
      96.        Each of the Paragraphs of this Complaint is incorporated as if fully

stated herein.

      97.        In the manner described in this Complaint, Defendant Castro

violated Plaintiff’s constitutional rights intentionally subjecting him to unlawful,

unequal treatment on the basis of his race in violation of the Fourteenth

Amendment of United States Constitution.

      98.        Defendant Castro’s conduct created discriminatory effect by targeting

Jordan Baker for police action based on his race.

      99.        The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally with willful indifference to Jordan Baker’s

constitutional rights.

                              Count IV—42 U.S.C. § 1983
                           Failure to Provide Medical Care

      100.       Each of the Paragraphs in this Complaint is incorporated as if

restated fully herein.

      101.       As described in the preceding paragraphs, Defendant Castro’s actions

toward Jordan Baker violated Baker’s constitutional rights, including but not

limited to the Fourth and Fourteenth Amendments of the United States

Constitution due to his failure to render any medical care to Jordan Baker after

having detained him by shooting him in the chest.



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      102.    The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally with willful indifference to Jordan Baker’s

constitutional rights.

                           Count V—42 U.S.C. § 1983
                           Municipal Liability: Monell

      103.    Each of the Paragraphs in this Complaint is incorporated as if

restated fully herein.

      104.    As described in the preceding paragraphs, the misconduct described

in Counts I-IV was undertaken under the policy and practice of the City of Houston,

such that Defendant City of Houston is also liable, in that:

      a.      As a matter of both policy and practice, the City of Houston

      encourages, and is thereby the moving force behind, the very type of

      misconduct at issue in Counts I-IV by failing to adequately train, supervise,

      control and discipline its officers such that its failure to do so manifests

      deliberate indifference;

      b.      As a matter of both policy and practice, the City of Houston facilitates

      the very type of misconduct at issue in Counts I-IV by failing to adequately

      investigate, punish, and discipline prior instances of similar misconduct,

      thereby leading Houston police officers to believe their actions will never be

      meaningfully scrutinized. Accordingly, in that way, the City of Houston

      directly encouraging future uses of excessive deadly force, unlawful

      detention, failures to intervene, and race-based policing such as those

      Plaintiff complains of;

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      c.      Generally, as a matter of widespread practice so prevalent as to

      comprise municipal policy, officers of the Houston Police Department violate

      the constitutional rights of individuals in a manner similar to that alleged by

      Jordan Baker in Counts I-IV on a regular basis, yet the Houston Police

      Department investigates officer misconduct and makes findings of

      wrongdoing in a disproportionately small number of cases.

      105.    As a result of the City of Houston’s policies and practices, and the

unjustified and unreasonable conduct of the Defendant Castro, Plaintiff has

suffered injuries, including severe emotional distress and ultimately death.

                            Count VI—State Law Claim
                                Assault & Battery

      106.   Each paragraph of this Complaint is incorporated as if restated fully

herein.

      107.   As described above, Defendant Castro used force against Jordan

Baker, resulting in harmful or offensive contact.

      108.   In using force against Jordan Baker, Defendant Castro intended to

cause physical pain or injury, to be insulting, and/or to cause offensive contact.

      109.   The misconduct described in this Count was undertaken with malice,

willfulness, and reckless indifference to the rights of others.

      110.   As a proximate result of this misconduct, Jordan Baker suffered severe

physical pain and emotional distress, and anguish.




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                             Count VII—State Law Claim
                                  Wrongful Death

      111.       Each of the Paragraphs of this Complaint is incorporated as if fully

stated herein.

      112.       All Defendants are liable for damages arising from Defendant Castro’s

unlawful conduct that caused Jordan Baker’s death in that Jordan Baker’s injuries

and death were caused by Castro’s wrongful act, neglect, carelessness,

unskillfulness, or default while Castro was acting as an agent of both the City of

Houston and the RPI Management Company.

      113.       Castro’s actions as described in this Complaint were a substantial

factor in bringing about Jordan Baker’s death, and without those actions, the death

of Jordan Baker would not have occurred.

      114.       Both Janet Baker, Jordan Baker’s mother, and J.B., Jordan Baker’s

son, suffered loss of companionship and mental anguish as a result of the wrongful

death of Jordan Baker.

      115.       Both Janet Baker and J.B. suffered from pecuniary loss as a result of

the wrongful death of Jordan Baker.

                             Count VIII—State Law Claim
                                    Survival Action

      116.   Each of the Paragraphs of this Complaint is incorporated as if fully

stated herein.

      117.   Plaintiff Janet Baker is the legal representative authorized to pursue

these claims against Defendants.

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      118.       Prior to his death, Jordan Baker suffered serious personal injuries

including but not limited to severe pain and emotional distress during the period

after he was shot but before he died from the gunshot wounds Defendant Castro

inflicted upon him.

      119.       All Defendants liable for these damages arising from Defendant

Castro’s unlawful conduct that caused Jordan Baker’s severe pain and emotional

distress in that Jordan Baker’s injuries were caused by (or were substantially

caused by) Castro’s wrongful act, neglect, carelessness, unskillfulness, or default

while Castro was acting as an agent of both the City of Houston and RPI

Management Company.

      120.       Castro’s actions as described in this Complaint were a substantial

factor in bringing about the injuries described in this Count, and without those

actions, these injuries would not have occurred.

                             Count IX—State Law Claim
                     Intentional Infliction of Emotional Distress

      121.       Each of the Paragraphs of this Complaint is incorporated as if fully

stated herein.

      122.       In the manner described more fully above, by causing the death of

Jordan Baker, the Defendants intended to cause both physical and emotional

distress.

      123.       In so doing, Defendant Castro’s conduct was extreme and outrageous

and caused Jordan Baker severe, disabling physical distress, emotional distress,

and ultimately death.

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      124.       The misconduct described in this Count was intentional and

undertaken with malice, willfulness, and reckless indifference to the rights of

others.

                              Count X—State Law Claim
                                 Municipal Liability
      125.       Each of the Paragraphs of this Complaint is incorporated as if fully

stated herein.

      126.       Public entities must pay any tort judgment for damages for which

employees are liable within the scope of their employment activities for mandatory

functions of the municipality. 102 V.T.C.A. § 102.0215.

      127.       During all times relevant to this complaint, Defendant Castro was an

employee of the Houston Police Department, who acted within the scope of his

employment in committing the acts described herein.

                              Count XI—State Law Claim
                                Respondeat Superior

      128.       Each paragraph of this Complaint is incorporated as if restated fully

herein.

      129.       In committing the acts alleged in the preceding paragraphs,

Defendant Castro acted at all relevant times within the scope of his employment on

behalf of the Houston Police Department as well as the RPI Management

Company, LLC.

      130.       These Defendants are principals liable for all torts, including Counts

VI-IX above, committed by their agents.



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        WHEREFORE, Plaintiff respectfully requests that this Court enter

judgment in her favor and against Defendants JUVENTINO CASTRO, CITY OF

HOUSTON, and RPI MANAGEMENT COMPANY, LLC and award compensatory

damages and attorneys’ fees, as well as punitive damages against JUVENTINO

CASTRO, and any other relief this Court deems just and appropriate.



                                 JURY DEMAND

         Plaintiffs hereby demands a trial by jury pursuant to Federal Rule of

Civil Procedure 38(b) on all issues so triable.


                                                  RESPECTFULLY SUBMITTED,


                                                  s/David B. Owens
                                                  One of Plaintiffs’ Attorneys


  Jon Loevy
  Mark Loevy-Reyes*
  David B. Owens
  LOEVY & LOEVY
  312 North May, Suite 100
  Chicago, IL 60607
  (312) 243-5900

  Billy Joe Mills*
  FIRMEQUITY
  858 West Armitage Avenue
  Suite 101
  Chicago, IL 60614
  (847) 207-9064

  *Motions for Pro-Hac Vice
  Admission forthcoming


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